       Case 4:24-cv-00118-CDL          Document 3       Filed 08/26/24      Page 1 of 11




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF GEORGIA
                                COLUMBUS DIVISION

UNITED STATES OF AMERICA,           :
                                    :
      Plaintiff,                    :
                                    :
v.                                  :               Case No. 4:24-CV-00118
                                    :
ZAKHRAULA MURTUZALIEVA,             :
                                    :
      Defendant.                    :
____________________________________:

                     EMERGENCY MOTION FOR ORDER OF
                AUTHORIZATION AND MEMORANDUM IN SUPPORT

       COMES NOW, Plaintiff United States of America, by and through the United States

Attorney for the Middle District of Georgia, and hereby respectfully moves the Court for an order,

pursuant to 28 U.S.C. § 1651, authorizing the U.S. Department of Homeland Security (“DHS”),

U.S. Immigration and Customs Enforcement (“ICE”), acting through the Stewart Detention Center

(“SDC”) and contract medical personnel, to involuntarily administer fluids and medications

through an intravenous line to Defendant Zakhraula Murtuzalieva at SDC in Lumpkin, Georgia.

Restraints may be needed to accomplish this involuntary treatment. In support of this motion,

Plaintiff relies on the below memorandum.

       Defendant is a Russian national who is detained post-final order of removal while awaiting

removal to Russia and is currently detained by ICE in Lumpkin, Georgia at SDC. Defendant is

currently engaged in a hunger strike, during which she is refusing nutrients necessary to sustain

her life. Defendant is also refusing to cooperate with the medical staff at SDC, to wit: she is

refusing nutrients and medication necessary to sustain her life. See Declaration of Dr. Gehrig

Harris, D.O. (“Harris Decl.”).
          Case 4:24-cv-00118-CDL          Document 3       Filed 08/26/24      Page 2 of 11




          Defendant Zakhraula Murtuzalieva is a 26-year old native and citizen of Russia. On

January 23, 2024, she was issued a Notice to Appear charging her with removability. On July 10,

2024, an immigration judge ordered her removed to Russia. She awaits removal from the United

States.

          Defendant Murtuzalieva has missed 26 consecutive meals. She continues to refuse to eat.

Defendant also refuses to comply with SDC medical staff’s treatment efforts. Defendant refuses

to consume fluids to provide nutritional value and refuses hydration and medications administered

through an intravenous line.

                                  STATEMENT OF THE CASE

          Plaintiff has made reasonable efforts to persuade Defendant to discontinue her hunger

strike, to no avail. See Attached Declaration of Supervisory Detention and Deportation Officer

Adam Orlandella (“Orlandella Decl.”). As SDDO Orlandella notes in his declaration:

   1. Since Murtuzalieva began her hunger strike, the SDC and SDC staff, through a Russian
      interpreter, have attempted to convince her to end the hunger strike and begin eating food
      and consuming adequate water. It has been explained to Murtuzalieva, through a Russian
      interpreter, that, if she continues the hunger strike, his health will be seriously jeopardized,
      and she may eventually die.

   2. At the SDC, the personnel, through a Russian interpreter, have informed Murtuzalieva
      that if she continues his hunger strike it may become necessary to seek a court order to
      involuntarily examine and test her, and administer food or hydration to save her life.

   3. In addition to ICE’s paramount concerns about the health and wellbeing of ICE detainees,
      the death or injury of any detainee as a result of a hunger strike would also seriously
      affect the operations of ICE at the SDC and SDC and adversely affect ICE efforts to
      maintain the safety, security and good order of the detention facility for the detainees,
      staff, contractors, volunteers, and visitors therein in the following ways:

             a. My foremost obligation is to maintain the safety and security of the ICE detainees
                housed at the facility and provide for the health and well-being of the detainees,
                which includes protection from self-harm. A facility cannot stand by and fail to
                intervene in self-injurious behavior that is completely antithetical to our mission of
                maintaining the health and safety of noncitizens under our care.



                                                   2
Case 4:24-cv-00118-CDL         Document 3        Filed 08/26/24      Page 3 of 11




  b. Moreover, other detainees may engage in hunger strikes, whether or not with the
     intention of committing suicide by starving themselves to death. For a detainee to
     cause his own death without staff intervention would completely undermine the
     DHS’s obligation to render appropriate medical care and prevent detainee suicides.

  c. In addition to critical personal health and safety for each individual, general security
     and order in the facility can also be destabilized by hunger strikes, which risks harm
     to other persons in the facility, including detainees, staff, contractors, volunteers,
     and visitors. Perceptions may be formed by the ICE detained population that ICE
     will simply let a detainee die, without intervening to save him or her, which could
     lead to lowered morale, resentment, acts of detainee violence and disruptions. The
     detained population, having formed such a perception, could act alone or in groups
     to disrupt the operation of the facility. I am concerned that hunger strikes, and even
     other acts of a disruptive or violent nature, would be directed at staff and other
     providers, to express detainee anger, resentment, and frustration.

  d. If such disruptive acts were to occur, tensions between detainees and staff would
     be heightened, making almost all aspects of the detention operation more difficult
     for staff to perform.

  e. Other detainees may decide that they have lost confidence in the skills, ability, or
     willingness of medical staff at the facility to administer medical care. They may be
     reluctant to seek treatment from the medical staff, reluctant to accept the treatments
     recommended, and may decide there is a need to “second guess” the judgments of
     the medical staff. They may simply refrain from seeking treatment for their illnesses
     from the medical staff, leading to emergency situations that could have been
     avoided had the detainee sought medical help at an earlier time.

  f. Detainees who participate in hunger strikes may severely and permanently damage
     their health. This may also require immediate and long-term medical care which in
     turn may require DHS to unnecessarily divert and expend its limited resources
     when such action can be avoided with appropriate medical intervention.

  g. In the absence of an adequate response to life-threatening hunger strikes, other
     detainees may participate in such activities in an attempt to change facility
     operations or exact concessions from facility management, rather than using other
     available means that do not threaten their health and wellbeing. For example,
     Detainees may initiate hunger strikes to pressure staff to transfer them away from
     the facility, or to gain their release from detention. Without the ability to intervene
     when medically necessary, the facility will be forced to choose between letting the
     detainee die and giving in to their demands. ICE supports detainees’ ability to
     express concerns about their cases, and an array of options – short of life-
     threatening hunger strikes – is available to them, including:

          i. Pursuit of applications for relief and protection from removal in proceedings
             before a neutral immigration judge;
                                        3
        Case 4:24-cv-00118-CDL            Document 3        Filed 08/26/24      Page 4 of 11




                    ii. Submission of facility-specific informal and formal grievances (including
                        emergency grievance processes and appeal processes) relating to any aspect
                        of their detention, including medical care, which trigger prompt responses;
                   iii. Submission of the online ERO Contact Form on the detainees’ behalf by
                        stakeholders, including interested individuals, nongovernmental
                        organizations, faith-based organizations, and advocacy groups;
                   iv. Complaints to oversight entities within the Department of Homeland
                        Security, including the Office of Inspector General, Office for Civil Rights
                        and Civil Liberties, Office of Detention Ombudsman, as well as the ICE
                        Office of Professional Responsibility; and
                    v. Use of the Detention Reporting and Information Line, a toll-free service that
                        provides a direct channel for detainees, family members, private attorneys,
                        and other stakeholders to communicate directly with ICE ERO about
                        detainee allegations and concerns.

           h. Some detainees may merely voice threats to go on a hunger strike, diverting
              additional staff attention away from other detainees.

           i. If a detainee is permitted to die from self-starvation, public perception of DHS and
              its staff will be adversely affected. Members of the community expect that DHS
              will use its best efforts to preserve the lives of detainees while enforcing the
              immigration laws of the United States.

        Without the necessary fluids and medications, Defendant’s life is in danger. See Harris

Decl.

        As noted in the declaration of Dr. Gehrig Harris, D.O., Defendant has missed 26 meals and

has not consumed food since lunch on August 17, 2024. Dr. Harris has declared that Defendant

requires immediate involuntary medical intervention to prevent further deterioration and serious

medical complications, and if involuntary hydration is required, it will be necessary to provide the

required hydration intravenously. See id.

                                      LAW AND ANALYSIS

        Defendant is in the lawful custody of the ICE pursuant to INA § 241, 8 U.S.C. § 1241. Her

legal status insofar as detention is concerned is likened to that of a pretrial detainee since Defendant

is not being held pursuant to a sentence of incarceration for the commission of a crime. Bell v.

Wolfish, 441 U.S. 520 (1979). As her custodian, ICE is responsible for providing Defendant with
                                                   4
        Case 4:24-cv-00118-CDL           Document 3       Filed 08/26/24       Page 5 of 11




such basic necessitates as food, living space, and medical care that is consistent with the due

process clause. Hamm v. Dekalb County, 774 F.2d 1567, 1572 (11th Cir.), cert. denied, 475 U.S.

1096 (1985).

       A competent person has a constitutionally protected liberty interest in refusing unwanted

medical treatment. Cruzan v. Director, Missouri Dep't of Health, 497 U.S. 261 (1990); Sullivan v.

Bornemann, 384 F.3d 372 (7th Cir. 2004). However, Defendant’s interest in refusing medication

must be balanced against ICE’s legitimate and necessary interest in safety and security.

       In the specific context of an alien in immigration detention, a district court in the Northern

District of Alabama entered an order authorizing the former Immigration and Naturalization

Service to force feed an INS detainee. In Re Soliman, 134 F. Supp. 2d 1238 (N.D. Ala. 2001),

vacated on grounds of mootness, Soliman v. United States, 296 F.3d 1237 (11th Cir. 2002).1 Faced

with a First Amendment challenge by Mr. Soliman, the district court engaged in a lengthy analysis

and noted the Government’s interest in the preservation of life. Id. at 1253. Second, the court found

that Soliman had alternative means of protesting his detention, which included correspondence,

telephone calls, and contacts with the media. Id. Finally, the district court found that force feeding

was not an “exaggerated response” to penal concerns because it was the only way to sustain the

life of a hunger striking detainee. Id. at 1254. The court concluded that the Government’s

limitations on Soliman’s First Amendment rights were reasonable. Id.



1
 Plaintiff relies on the district court’s Soliman decision as persuasive authority only. Indeed, a
district court is not bound by another district court’s decision, or even an opinion by another
judge of the same district court. Fox v. Acadia State Bank, 937 F.2d 1566, 1570 (11th Cir. 1991).
Soliman appealed the district court’s order to the Court of Appeals for the Eleventh Circuit.
While his appeal was pending, he was removed to Egypt. Soliman v. United States, 296 F.3d at
1241-42. The Eleventh Circuit concluded that the case was moot due to his removal, since he
was no longer in detention, and was no longer being force-fed by the INS. Id. at 1243. The
appellate court dismissed the appeal, and vacated the district court’s order. Id. at 1243-44.
                                                   5
        Case 4:24-cv-00118-CDL           Document 3       Filed 08/26/24       Page 6 of 11




        The district court also analyzed the Government’s action in force-feeding Soliman in

terms of the right to privacy. Id. at 1254-58. The court reviewed the cases cited by Soliman,

including In Re Grand Jury Subpoena John Doe; In Re Sanchez, 134 F. Supp. 2d at 1255-56, as

well as state court decisions upholding the right to force-feed hunger striking prisoners, White

v.Narick, 292 S.E.2d 54 (1982) and Von Holden v. Chapman, 450 N.Y.S.2d 623 (N.Y.App.Div.

1982), 134 F. Supp. 2d at 1256-57. The district court concluded that the interests asserted by the

Government – maintenance of order and safety in the detention facility, preservation of life, and

the onerous administrative burden presented by a hunger-striking detainee – were legitimate

penological objectives. Id. at 1258. Further, the court found that force-feeding Soliman was

warranted, so long as only nasogastric tube or intravenous feeding procedures were employed. Id.

at 1259.

        To determine whether a detainee’s substantive due process rights have been met, the court

must assess: 1) whether there exists a “valid, rational connection” between the government’s

legitimate interests and its act of forcibly treating the detainee; 2) how and to what extent facility

resources, facility staff, and other detainees will be adversely affected if the detainee is permitted

to refuse his prescribed treatment; and 3) whether the interests of the state and others reasonably

could be protected by means other than forced treatment. See Washington v. Harper, 494 U.S. 210,

221-22 (1990) (citing Vitek v. Jones, 445 U.S. 480, 491-94 (1980); Youngberg v. Romeo, 457

U.S. 307, 316 (1982); Parham v. J. R., 442 U.S. 584, 600-01 (1979)). The government also has

an interest in providing and is required to provide necessary medical care for detainees housed

within its facilities.

        The majority of courts have considered similar issues relating to the force-feeding of a

person in custody. Those courts have upheld the constitutionality of doing so, pointing out

                                                  6
        Case 4:24-cv-00118-CDL            Document 3       Filed 08/26/24      Page 7 of 11




numerous governmental interests that are advanced by the force-feeding and the thwarting of

hunger strikes. Contrary decisions are fact-dependent on the particular circumstances and are not

pertinent here. See In re Grand Jury Subpoena John Doe v. United States, 150 F.3d 170 (a force-

feeding order did not violate constitutional rights when weighed against the state’s interests in

preserving life, prevention of suicide, and enforcement of prison security, order and discipline);

Garza v. Carlson, 877 F.2d 14 (8th Cir. 1989) (affirming the right of prison officials after a court

hearing to force-feed prisoner on a hunger strike); In re Sanchez, 577 F. Supp. 7 (S.D.N.Y. 1983)

(extra attention required to deal with hunger striker creates administrative burden); Laurie v.

Senecal, 666 A.2d 806 (R.I. 1995) (prisoner has no right to commit suicide through starvation);

State v. Vogel, 537 N.W.2d 358 (N.D. 1995) (courts cannot condone manipulation of medical

circumstances to detriment of state’s interests, and force-feeding is reasonably related to legitimate

interests in order, security, and discipline).

        There are no federal cases that hold that a prison inmate or detainee has a right to die, that

is, to commit suicide by starvation. Rather, the United States Supreme Court has specifically held

that there is no right to commit suicide. Washington v. Glucksburg, 521 U.S. 702, 728 (1997).

                                   The Effects on the Institution

        SDDO Orlandella’s concerns about the adverse effects on SDC are very real. Cleavenger

v. Saxner, 474 U.S. 193, 194-96 (1985), provides a real-life example where, after an inmate’s death

at the institution hospital, inmates engaged in a work stoppage to protest his death because of their

perceptions of the institutions’ medical care.

        In addition, there are very real concerns about such events fostering litigation, win or lose.

In Geter v. Wille, 846 F.2d 1352 (11th Cir. 1998), the mother of a prisoner who starved himself to

death sued for damages. The named defendants were found liable in a jury trial and compensatory

                                                  7
        Case 4:24-cv-00118-CDL           Document 3        Filed 08/26/24      Page 8 of 11




and punitive damages totaling $150,000 were awarded. The Eleventh Circuit ultimately reversed

the verdict for lack of personal involvement, but the defendants had to undergo a trial where their

time and attentions were drawn away from their regular duties. They also had to suffer under the

personal stresses created by an improper verdict and award. As explained by the Eleventh Circuit,

“[t]he jury, apparently consumed by this misfortune, wanted to make someone pay for what

happened to Geter.” It is perhaps only natural that an inmate’s loved ones will feel that medical

care has been improper and that there was something the medical staff could have done to save the

inmate’s life.

       SDDO Orlandella’s other concerns have validity as well, and his judgment is entitled to

deference from the Court. The Supreme Court has repeatedly held that prison officials have broad

administrative and discretionary authority over the institutions they manage and that lawfully

incarcerated (or, in this case, lawfully detained) persons retain only a very narrow range of

protected liberty interests. Hewitt v. Helms, 459 U.S. 460, 467 (1983). Broad discretionary

authority is necessary because the administration of a detention center is, at best, an extraordinary

difficult undertaking. Courts should not be too ready to exercise oversight and put aside the

judgment of administrators. Wolff v. McDonnell, 418 U.S. 539 (1974).

       A warden or administrator has a responsibility to maintain order and safety. Accordingly,

discretion is granted in the implementation of policies which further these goals. Bell v. Wolfish,

441 U.S. 520, 546 (1979). Wardens and administrators should be accorded wide-ranging deference

in the adoption and execution of policies and practices that, in their judgment, are needed to

maintain institution security. Id. at 547. When the action taken appears to be a rational response to

a security problem and there is no evidence that the response is exaggerated, a court will not second

guess a prison official. Id.; see also, Turner v. Safely, 482 U.S. 78 (1987) (regulation is valid if it

                                                  8
           Case 4:24-cv-00118-CDL           Document 3       Filed 08/26/24      Page 9 of 11




is rationally related to legitimate penological interests). Staff must act and react to situations

occurring in correctional and detention institutions on the basis of imperfect information, making

judgments about how various events will affect their institutions and inmates and staff within them.

           Although prisoners and detainees retain some of their constitutional rights, restrictions may

be made based upon legitimate goals and policies of correctional institutions. “Lawful

incarceration brings about the necessary withdrawal or limitation of many privileges and rights, a

retraction justified by the considerations underlying our penal system.” Price v. Johnson, 334 U.S.

266, 285 (1948). Thus, a restriction which infringes on constitutional rights is valid if imposed for

reasons of security. Bell, 441 U.S. at 546. Central to all other correctional goals is the security of

the institution itself. Pell v. Procunier, 417 U.S. 817, 823 (1974). Maintaining institution security

and preserving internal order and discipline justifies the limitation or retraction of the retained

constitution rights of both convicted prisoners and pretrial detainees. Bell, 441 U.S. 546.

        Finally, the fact of confinement and the needs of the institution impose limitations on

constitutional rights of inmates, including those derived from the First Amendment. Jones v. North

Carolina Prisoners’ Labor Union, 433 U.S. 119, 125 (1977). The Supreme Court has “repeatedly

recognized the need for major restrictions on prisoner’s rights.” Id. at 129. Prison and jail officials

must be permitted to take steps to forestall threats of institution disruptions. “[T]hey must be

permitted to act before the time when they can compile a dossier on the eve of a riot.” Id. at 132-

33, n.9.

        Thus, SDDO Orlandella’s concerns for ICE’s ability to maintain the safety of detainees

transferred to SDC, including his concerns for potential security problems if Defendant is not

involuntarily administered fluids and provided with necessary medical treatment, should prevail.

The Court should grant the motion in these circumstances, where the right for a detainee to commit

                                                    9
       Case 4:24-cv-00118-CDL          Document 3        Filed 08/26/24     Page 10 of 11




suicide by starvation or by refusing life-sustaining medical treatment has been rejected by those

courts that reviewed such a claim and where the Supreme Court has not found such a right to exist.

                                         CONCLUSION

      Accordingly, the United States prays for an order under 28 U.S.C. § 1651 authorizing ICE

at SDC, through competent medical authority, to involuntarily administer fluids and medication

through an intravenous line to Defendant to sustain the life of Defendant, and to restrain Defendant

to accomplish the same until such time as Defendant discontinues her hunger strike or until the

Court otherwise orders.

       The United States respectfully attaches hereto a proposed order for the Court’s

consideration.

       Respectfully submitted this 26th day of August, 2024.

                                              PETER D. LEARY
                                              UNITED STATES ATTORNEY

                                      By:     s/ Roger C. Grantham, Jr.
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                                                10
      Case 4:24-cv-00118-CDL            Document 3     Filed 08/26/24      Page 11 of 11




                                CERTIFICATE OF SERVICE

       I hereby certify that on August 26, 2024, I electronically transmitted the Emergency Motion

to the Clerk’s Office using the CM/ECF system for filing and transmittal of a Notice of Electronic

Filing to the following CM/ECF registrants: N/A

       I further certify that on August 26, 2024, I served the document by in-person delivery or

via first class mail on the following non-CM/ECF participants:

       Zakhraula Murtuzalieva
       A # 249373037
       c/o Stewart Detention Center
       146 CCA Road
       P.O. Box 248
       Lumpkin, GA 31815

       This 26th day of August, 2024.

                                             PETER D. LEARY
                                             UNITED STATES ATTORNEY

                                      By:    s/ Roger C. Grantham, Jr.
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                                               11
